Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 1 of 77




 United States v. Simon Gogolack
              23-CR-99-JLS-JJM




            Defendant’s Exhibit C
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 2 of 77
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 1                      UNITED STATES DISTRICT COURT

 2                     WESTERN DISTRICT OF NEW YORK

 3

 4   - - - - - - - - - - - - - - X
     UNITED STATES OF AMERICA    )
 5                               )
     vs.
 6                                 Rochester, New York
     JOHN ERMIN,                 ) December 19, 2023
 7                   Defendants.         3:30 p.m.
     - - - - - - - - - - - - - - X
 8   DETENTION HEARING

 9

10                    TRANSCRIPT OF PROCEEDINGS
             BEFORE THE HONORABLE ELIZABETH A. WOLFORD
11                   UNITED STATES DISTRICT JUDGE

12
                         TRINI E. ROSS, ESQ.
13                       United States Attorney
                         BY: JOSEPH TRIPI, ESQ.
14                       Assistant United States Attorneys
                         138 Delaware Avenue
15                       Buffalo, New York 14202

16
                         GEORGE MUSCATO, ESQ.
17                       107 East Avenue
                         Lockport, New York 14094
18

19                       T. Zeller, USPO
                         K. Nenni, USPO
20

21

22

23

24   COURT REPORTER: Karen J. Clark, Official Court Reporter
                     Karenclark1013@AOL.com
25                   100 State Street
                     Rochester, New York 14614
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 3 of 77
                                                                             2


 1                              USA V. J. ERMIN

 2
                               P R O C E E D I N G
 3                         *               *               *

 4

 5                  THE COURT:      All right.      Good afternoon,

 6   everybody.

 7                  MR. TRIPI:      Good afternoon, your Honor.

 8                  THE COURT:      Why don't we have appearances

 9   for the record?

10                  MR. TRIPI:      Joseph Tripi and paralegal Karen

11   Champoux for the United States.

12                  THE COURT:      And on behalf of the defendant?

13                  MR. MUSCATO:      George Muscato, and I have my

14   client John Ermin for the record.

15                  THE COURT:      And for the record, are you John

16   Ermin?

17                  THE DEFENDANT:       Yes.

18                  THE COURT:      And you're represented by Mr.

19   Muscato?

20                  THE DEFENDANT:       Yes, I am, your Honor.

21                  THE COURT:      My name is Judge Wolford.          I'm

22   the district judge assigned to your case.                 And we have

23   Officer Zeller and Officer Nenni here from Probation.

24                  So, I guess, Mr. Tripi, you've handed up a

25   hearing or exhibit booklet?
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 4 of 77
                                                                                   3


 1                             USA V. J. ERMIN

 2                  THE CLERK:        Yes.

 3                  MR. TRIPI:        I have, your Honor.      Many of the

 4   exhibits the Court has already, but some are new just

 5   since yesterday.       I can read them into the record.                 I'm

 6   proffering all of them.           Defense has all of these

 7   exhibits, but if you don't mind, I can lay out what's

 8   there.    Exhibits 1-A through 1-AV, inclusive.              For

 9   counsel's edification, 1-AT, 1-AU and 1-AV are new adds

10   in that one series.        There are three new exhibits from

11   the prior hearing.        2-A through F, there are no new

12   exhibits in that series from the prior hearing.                   3-A

13   through C, 3-C I believe is new.            4-A through C.         5-A

14   and B.    6-A and B.      7-A.

15                  THE COURT:        Are you saying -- you're just

16   saying what the exhibits are or saying --

17                  MR. TRIPI:        I'm moving them all into the

18   record formally.

19                  THE COURT:        Okay.

20                  MR. TRIPI:        I'll be proffering some of these

21   as we go.     I didn't think I did a good job in the prior

22   hearing --

23                  THE COURT:        I will agree with you because I

24   looked at the transcript.

25                  MR. TRIPI:        -- what was in the record.             8-A
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 5 of 77
                                                                                 4


 1                             USA V. J. ERMIN

 2   through F; 9-A through K and 10-A and 10-B; Exhibit 11;

 3   12-A through 12-B; 13-A through 13-C; 14-A through 14-C;

 4   15-A through 15-N; 16-A and B; 17-A through D; 18-A

 5   through 18-I.      Some of in that series are new from the

 6   prior hearing.      19-A through 19-F, some of those are new

 7   we added exhibits.        20-A through 20-H, which are

 8   photographs of vests, those are new exhibits.                And 21 is

 9   a CD that has two videos, two different incidents.                  I

10   should say two clips on one and four clips on the other.

11   They were some of the videos we discussed yesterday.                    I

12   know counsel wasn't here, but they will be the same

13   videos that Mr. Cooper was proffering yesterday.                  We've

14   now acquired those and we have those today.               So they are

15   short, I can show parts of the videos.              They are up.

16                  THE COURT:      Okay.

17                  MR. TRIPI:      So I would make all of those

18   exhibits which have all been provided to counsel and to

19   the Court as part of the record for this detention

20   hearing.

21                  THE COURT:      All right.      Fair enough.       So,

22   it's the government's appeal.           It is a de novo review in

23   front of me.      I will tell you what I've reviewed.              I've

24   reviewed the transcript of the proceedings in front of

25   Judge Schroeder; I've reviewed the Notice of Motion
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 6 of 77
                                                                         5


 1                             USA V. J. ERMIN

 2   filed by the government for review of Judge Schroeder's

 3   determination; I've reviewed the bail report that was

 4   prepared by the probation office that I think everybody

 5   had previously.       Yesterday, I don't know if this is part

 6   of your exhibits, but in the exhibit book that was

 7   handed up for Mr. Barnes, in the pocket was something

 8   that has been marked Government Exhibit 7-A, which

 9   appears to be the reports or an information related to

10   this alleged gang assault that occurred in April of

11   2010.     So I took a look at this.

12                  MR. TRIPI:      I proffered the contents at the

13   original hearing.       I didn't formally move the document

14   in.     I don't think there was any harm in doing so

15   because the document was taken from Mr. Ermin's house

16   initially.

17                  THE COURT:      But is 7-A part of this booklet?

18                  MR. TRIPI:      It is.

19                  THE COURT:      I think that is it.        I don't

20   think I have anything else.           So go ahead.

21                  MR. TRIPI:      May I proceed?

22                  THE COURT:      Yes.

23                  MR. TRIPI:      Just to lay out the bases for

24   detention, we're moving under 18 U.S. Code Section

25   3142(f)(10(A), 3142(f)(1)(E), 3142(f)(2)(A), and
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 7 of 77
                                                                       6


 1                             USA V. J. ERMIN

 2   3142(f)(2)(B).      Those are crime of violence, possession

 3   of a firearm, risk of flight and risk of obstruction of

 4   justice.     I would agree with the Court's assessment from

 5   yesterday that the charge does not trigger a statutory

 6   presumption of flight or danger, however we believe when

 7   you assess all of the applicable factors that all of the

 8   factors the Court should consider when it considers

 9   pretrial detention weighing in the favor, those are the

10   nature and circumstances of the offense, the weight of

11   the evidence, the history and characteristics of the

12   offender, and the nature and seriousness the defendant

13   would pose to anyone in the community.

14                  I was present for your comments yesterday as

15   well, your Honor, so I did a little bit of research, so

16   I have cases as it relates to position in an enterprise

17   or organization.       I would agree with the Court --

18                  THE COURT:      Hold on.

19                  MR. TRIPI:      I'm speaking quickly, I'll slow

20   it down.

21                  THE COURT:      I guess I look at the Enix

22   decision is my starting point.

23                  MR. TRIPI:      That is a good one to anchor to.

24   I think --

25                  THE COURT:      And for Mr. Muscato's purposes,
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 8 of 77
                                                                                  7


 1                             USA V. J. ERMIN

 2   I issued a decision in a case, I handled the Kingsmen

 3   case, there were several detention hearings that were

 4   brought before me.        I think the most contentious,

 5   probably, the lengthiest was United States v. Enix.                      I

 6   issued a pretty lengthy decision in that case where I

 7   ultimately ended up releasing Mr. Enix.

 8                  MR. TRIPI:      You did.

 9                  THE COURT:      And I have a pretty lengthy

10   discussion in there of what I thought the relevant case

11   law was.    But I'm interested in what you have.

12                  MR. TRIPI:      I think there may be a couple of

13   cases that I probably didn't cite before when you were

14   considering that.       You probably observed them in your

15   research, but I nevertheless, I'll cite them just in

16   case.   I think they do stand for the proposition, the

17   Court is correct that in terms of a per se leadership

18   position in a criminal enterprise, it's not sufficient

19   per se, but I think my argument I'd like to say that the

20   membership and leadership position is still a factor and

21   it should be a compelling one in this instance.                   So I

22   think with that caveat, I'd cite the Court to United

23   States v. Cirillo, 149 F. Appx. 40, Second Circuit 2005

24   unpublished.      A panel affirmed the district court's

25   detention decision where the government showed the
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 9 of 77
                                                                                  8


 1                             USA V. J. ERMIN

 2   defendant was both a leader of an organized crime

 3   enterprise and had a list of proposed organization

 4   members found on the defendant's kitchen table and

 5   indicated that was sufficient proof that the violent

 6   enterprise was actively reinvigorating itself and that

 7   the defendant was directly involved in the process.

 8                  THE COURT:      Give me the cite again.

 9                  MR. TRIPI:      United States v. Cirillo, 149 F.

10   Appx. 40.     The pin cite for the reference I just made is

11   at page 43, and I think that case is going to have some

12   persuasive authority here.

13                  THE COURT:      What were the charges in that

14   case?

15                  MR. TRIPI:      That was -- it related to -- if

16   you just hold on one second, I'll get that, Judge.                  I

17   didn't write down on my notes here the list of charges,

18   but it related to the Gambino crime family.               I think

19   that is going to have some, I think, persuasive

20   authority here because one of the things I'm going to be

21   demonstrating are not only rosters and lists of

22   nationwide, sort of, Outlaws, and you're going to see

23   some videos of nationwide Outlaws coming to a meeting

24   here in Buffalo that Mr. Barnes and Mr. Ermin was here

25   and people from Louisville and all over the country.                    It
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 10 of 77
                                                                                  9


 1                              USA V. J. ERMIN

 2   looks like a leadership meeting was held here in 2023.

 3   And I'll note that in a case that I think Mr. Erwin has

 4   an interest in, a defendant was indicted in January of

 5   that year.      I can only proffer that timeline.             I don't

 6   know what was discussed in the four-hour closed-door

 7   meeting, but I think from the video I'll show later in

 8   the presentation, it was seemed like a hastily

 9   thrown-together meeting.          They all meet at the Hilton

10   Inn across from the Buffalo Airport.              It was a four-hour

11   meeting and they all disperse.            So I think that timeline

12   is important.

13                   THE COURT:     Are you doing to address the

14   Jencks material or just cryptically refer to that?

15                   MR. TRIPI:     I'm going to address the

16   timeline of events in terms of disclosure of Jencks.                    We

17   didn't find any Jencks material from that case in any of

18   the searches.

19                   THE COURT:     What case are you talking about?

20                   MR. TRIPI:     I'm talking about 19CR227, the

21   U.S. v. Bongiovanni and Gerace case.              So let me begin at

22   the beginning, though, if I may.

23                   THE COURT:     Okay.

24                   MR. TRIPI:     What brings this defendant to

25   court is obviously a firearm charge, but this Court
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 11 of 77
                                                                         10


 1                              USA V. J. ERMIN

 2   knows it could consider much beyond the four corners of

 3   that document.       And that is where I think starting with

 4   Mr. Ermin's leadership position in this enterprise is

 5   important.

 6                   If I can get the exhibits displayed.

 7                   I would just like to show the Court Exhibit

 8   8-A.

 9                   THE COURT:     Let me make sure my -- yes, it's

10   working.

11                   MR. TRIPI:     So this is a law enforcement

12   material provided to me regarding the Outlaws nationwide

13   organizational structure.          Now I know your Honor, you're

14   familiar with a motorcycle gang that sort of wanted to

15   be and was moving towards wanting to be a one percent

16   gang, but the Outlaws motorcycle gang has been in

17   existence for a very long time nationwide.                It's an

18   international organization, you heard that yesterday.

19   This is the national structure.            You have a national

20   president at the top.         And that is John Ermin, who lives

21   in Lancaster, New York.

22                   THE COURT:     Where did you get this

23   organizational structure from?

24                   MR. TRIPI:     This was provided by law

25   enforcement who investigate the Outlaws.               So just as
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 12 of 77
                                                                            11


 1                              USA V. J. ERMIN

 2   sort of the Executive Branch of government have

 3   officially terrorist organizations and the president has

 4   a designate certain terrorist organizations, the

 5   Department of Justice has designated, essentially, the

 6   Outlaws as a criminal enterprise.             And there have been

 7   several racketeering cases throughout its history.                 A

 8   little bit of history I think is important just to show

 9   you how this is far different from the Kingsmen in one

10   respect.     The Kingsmen are a JV organization compared to

11   the Outlaws in terms of reach, number of members, scope,

12   complexity.      All right?      So I'm showing you this so you

13   can see that the national president, who sits before

14   you, yes, on a gun charge where he had 16 firearms,

15   literally commands legions of people dedicated to the

16   one percent criminal lifestyle.            And that one percenter

17   criminal life style is important.             The most violent

18   Kingsmen, the most highest level Kingsmen, is your

19   baseline Outlaw.       That is the assessment from law

20   enforcement for a long period of time.

21                   THE COURT:     And isn't it correct that it's

22   been known to law enforcement that Mr. Ermin is

23   allegedly the president of this organization?

24                   MR. TRIPI:     Yeah.

25                   THE COURT:     For years, right?
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 13 of 77
                                                                             12


 1                              USA V. J. ERMIN

 2                   MR. TRIPI:     I think he became president, he

 3   was locally a leader in Buffalo, and then he ascended to

 4   what has been assessed by the FBI to the regional

 5   president, which you could see is in blue.                So during

 6   the time frame that you were having the Kingsmen case

 7   and you heard Mr. Ermin's name during the course of that

 8   trial, we assess, I say "we," I'm speaking for law

 9   enforcement, that he was the blue region president at

10   the time.     He has since moved up.          The blue region

11   covers east Ohio, Pennsylvania and New York.                And so in

12   2019, when a high-ranking Kingsmen named Ed Decay

13   defected to a Nickle City Nomad organization and caused

14   that ripple that you sat through a trial on, in 2015 in

15   Ohio, Mr. Decay and a guy named Joseph Matthews A/K/A

16   Lucky and this defendant were stopped in Ohio during a

17   road rage type of incident in 2015.             The police were

18   called --

19                   THE COURT:     I should disclose as well,

20   because I read the transcript, I pulled Mr. Decay's PSR,

21   and I have the description of that arrest, but I think

22   in fairness Mr. Muscato has to receive it.

23                   MR. TRIPI:     I'm operating off memory, to the

24   extent what you have in front of you differs slightly --

25                   THE COURT:     I can read it into the record.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 14 of 77
                                                                               13


 1                              USA V. J. ERMIN

 2   Why don't I do that?         Because it's the date of the

 3   arrest is February 21, 2015, the charge was improper

 4   handling of a firearm in a motor vehicle, felony;

 5   possession of methamphetamine, misdemeanor; agency was

 6   Columbus Police Department, Columbus, Ohio.                There is no

 7   disposition reported in Mr. Decay's Presentence

 8   Investigation Report.

 9                   And the narrative is:         According to a

10   Columbus, Ohio Police Department on February 21, 2015,

11   Columbus Ohio Police Gang Unit detective responded to a

12   call of a road rage incident at 8575 Lira Drive.                   Upon

13   arrival, detectives located a blue Chevy Trailblazer

14   bearing New York license plate number GMP 3312 parked at

15   the pumps.      Upon arrival, detectives observed several

16   white males, one male in the driver's seat, one male in

17   the passenger seat, and two walked from the gas station

18   in the vehicle.       Later identified as the defendant,

19   meaning Mr. Decay, John Ermin, Joseph Matthews and Eric

20   Richardson, all members of the Outlaws Motorcycle Club

21   in Buffalo, New York.         The detectives call for back up

22   and approach the vehicle.          One individual was observed

23   to have taken a pancake holster from his waistband and

24   drop it at his feet.         Detectives gave verbal demands to

25   all of the occupants to show their hands.               Detectives
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 15 of 77
                                                                              14


 1                              USA V. J. ERMIN

 2   subsequently recovered possession of four grams of

 3   methamphetamine, two assault weapons, Kel-Tech sub 2000,

 4   a loaded Taurus 38 special, 10 loaded pistol magazines,

 5   three knives, two sets of brass knuckles, two batons, 64

 6   rounds of ammunition, and three Outlaws motorcycle club

 7   vests.    The defendants were arrested, processed and

 8   released pending further investigation.

 9                   And then the PSR notes that it's noted in

10   August of 2018, additional information was requested

11   from the Columbus Police Department regarding this

12   investigation and prosecution and has yet to be

13   received.

14                   MR. TRIPI:     So I think I can speak to that

15   because circling back, recently I asked the

16   investigators now working this case to look back at that

17   and see what happened to that.            And what they were told

18   was we sent that information to Buffalo to do a case.

19   Well, you know Special Agent Greg Mango, and you know

20   what he was doing.        You know what I was doing during

21   that time frame.       And, Judge, we wouldn't have had venue

22   over a firearm case and a meth possession case in Ohio.

23   So the case went nowhere, that is what I infer.                    But

24   what did happen, we do know what did happen is Ed Decay

25   became an Outlaw.        From the police reports, I've read
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 16 of 77
                                                                               15


 1                              USA V. J. ERMIN

 2   it, appears that Ed Decay, the day of, took

 3   responsibility for Mr. Ermin, Mr. Matthews, for the

 4   firearms in the vehicle.          And then what happened is Mr.

 5   Decay became a full-patch Outlaw.

 6                   Now, you know from the trial you sat over,

 7   that initially the Kingsmen wanted to target Mr. Caruso

 8   and Mr. Decay, but that quickly pivoted to just Mr.

 9   Caruso.     Mr. Decay, he was protected by this

10   organization.      They weren't touching him.           And yet, and

11   yet, your plea colloquy with Mr. Decay was found in the

12   Outlaws clubhouse.        You didn't hear that yesterday.

13                   THE COURT:     I saw that in the transcript, it

14   was the publically filed.

15                   MR. TRIPI:     It was publically filed, but the

16   mind-set I'm going to speak to in a little bit is there

17   is also a letter from another, I infer, I read the

18   letter, I infer it's an Outlaw in prison who spoke to

19   Dave Pirk and spoke to other Kingsmen in prison about Ed

20   Decay and reported back to Mr. Ermin and gave an

21   assessment that he believes Mr. Decay is standing tall,

22   meaning not cooperating.          So they were monitoring Mr.

23   Decay the whole time, pulling his plea agreement.                  Yeah,

24   they have a PACER account.           We found reference to their

25   legal bills.      The Outlaws MC have a PACER account.              I'm
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 17 of 77
                                                                                 16


 1                              USA V. J. ERMIN

 2   still waiting for the subpoena return from PACER and see

 3   what that looks like.         Ran into a few issues with that.

 4   We're working through that.           They didn't want to comply

 5   with the grand jury subpoenas.

 6                   THE COURT:     Who was that directed to?

 7                   MR. TRIPI:     It was direct to PACER.             I've

 8   had that response before and in very short order got the

 9   information.      I'm hitting roadblocks this time around.

10   I don't know if there was a court policy change in D C.

11   We, in fact, know that they have a PACER account.                    They

12   have Mr. Decay's paperwork.           They have paperwork from

13   Outlaw cases all over the country.             Jack Rosga, Harry

14   Taco Bowman, monitoring your local cases.               So in the

15   Outlaws clubhouse was the plea colloquy and in the Mr.

16   Ermin's house of the actual plea agreement.

17                   THE COURT:     Again, the publically filed plea

18   agreement?

19                   MR. TRIPI:     Correct.     But you have to view

20   that through the lens of the montra, which I'm going to

21   pull up exhibit 15-M.         I think this is a new add, so you

22   may not have seen this yet, Judge, but I think this

23   exhibit pulled out of the Kingsmen clubhouse.

24                   THE COURT:     Kingsmen.

25                   MR. TRIPI:     Sorry, I'm all messed up,
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 18 of 77
                                                                                 17


 1                              USA V. J. ERMIN

 2   Outlaws Clubhouse.        Really speaks to the mind-set of the

 3   baseline.     "This is not a family club or social riding

 4   club.    We are men who ride and take our club seriously.

 5   We have a strong brotherhood and take care of business

 6   when need be.      But that is not all we are about.                This

 7   club is our family and our life.            We spend most of our

 8   time doing club functions and traveling around the world

 9   visiting our brothers in other clubs.              We are the first

10   to admit that we are not your social weekend yuppies.

11   Never have been and never will be, either.                Biking and

12   brotherhood is the strength of our club.               Your brother

13   isn't always right, but he is always your brother.                    It's

14   one for all and all for one.           All members are your

15   brothers and family.         You will not steal your brother's

16   possession, money, woman.          God forgives, Outlaws don't.

17   And that is a tattoo that Mr. Ermin has tattooed across

18   his stomach GFRD.        And that stands for the proposition

19   that the Outlaws will retaliate to a threatening

20   organization.

21                   Think of it as a mission statement.                If you

22   don't think this way, then walk away because you are a

23   citizen and don't belong with us.             We are Outlaws, one

24   percenters and members will follow the AOA way or get

25   out, which means American Outlaws Association or only
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 19 of 77
                                                                              18


 1                              USA V. J. ERMIN

 2   Arians apply.      United we stand divided we fall.                Forever

 3   Outlaws, Outlaws forever.

 4                   So that is the mission statement.             And in

 5   1994, and we learned this from with our prosecution

 6   team, in 1994, on U.S. domestic soil, the Outlaws were

 7   responsible for the biggest domestic bombing in U.S.

 8   history to that point of a Hell's Angels' clubhouse in

 9   Chicago.     A car bomb went off.         It was the biggest

10   bombing before Oklahoma City.            That is the organization

11   we are dealing with.         You can't point to those types of

12   things with the Kingsmen motorcycle club.               This is on a

13   different level.

14                   I would like to show you exhibit 8-B because

15   this is just going to be a press release for Outlaws

16   National President sentenced to 20 years for

17   racketeering.      This press release is in 2011.             So this

18   would be Mr. Rosga is the national president.                 In

19   between him there was another person named "Hillbilly,"

20   who is now medically retired.            Hillbilly is sick, I

21   believe he has cancer, and then Mr. Ermin.

22                   THE COURT:     You're telling me that, but, I

23   mean, and you can proffer, but I have to assess the

24   reliability of the proffer.           So why should I conclude

25   that your statement that Mr. Ermin is the national
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 20 of 77
                                                                            19


 1                              USA V. J. ERMIN

 2   president of the Outlaws is reliable?

 3                   MR. TRIPI:     He admitted it to a witness,

 4   first of all, that I've spoken to and reviewed the

 5   reports.     Secondly, he has national level rockers.              I

 6   can show you his vest, it's going to have his national

 7   pin on it.

 8                   Let's go to the 20 series, Karen.

 9                   Think of it like military ranking, but

10   you're going to see it says "National" and gold pin on

11   the rocker received from the house.             20-C we'll go

12   through in sequence, 20-C, you'll see the reference

13   "B.B.T.," refers to the baseball bat team, that patch

14   signifies his high ranking in, and I get this from doing

15   this every day and investigate these types of

16   organizations, and I've spent a minute prosecuting biker

17   gangs, and so I'm familiar with some of it as well.

18                   On the top left, you see another patch that

19   says, "Brotherhood inside and out," which references in

20   or out of jail.       And in speaking to Jeremy Sheetz, who

21   is with the ATF and has been a national expert for a

22   long time in this area, along with others that are

23   working this case who have devoted a lot of time working

24   Outlaws motorcycle cases, that red slash that is Arian

25   or that is related to the fact it's on his patch, it is
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 21 of 77
                                                                          20


 1                              USA V. J. ERMIN

 2   significant in the sense it is indicative of violent

 3   acts of his history.         So B.B.T. patch, think of it as

 4   prospective, your job was to defend the patch.                 The

 5   lighting bolt Nazi symbolism which are red, according to

 6   Mr. Sheetz, who reported to our agents, those types of

 7   symbolism indicate when they are on the patch of

 8   violence.     On top of that, there have been reports, and

 9   I reviewed one source, report of an individual who is in

10   an outlying clubhouse who watched Mr. Ermin beat someone

11   up.

12                   THE COURT:     Can you give me more

13   information?

14                   MR. TRIPI:     I really can't in this setting,

15   your Honor.      I hope you understand why I'm a little

16   reluctant and maybe my proffer at the end will frame

17   that.    I reviewed the report.          The individual reported

18   that he was in the Outlaws clubhouse, that Mr. Ermin

19   walked out back, beat somebody up and then walked back

20   in.

21                   THE COURT:     You can't give me any kind of

22   time frame?

23                   MR. TRIPI:     I can follow up with the time

24   frame, Judge.      I don't have that committed to memory as

25   I stand here right now.          I was reading it more for the
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 22 of 77
                                                                          21


 1                              USA V. J. ERMIN

 2   substance of what had happened, but I don't have a time

 3   frame.    It was certainly in the window of time when the

 4   Kingsmen case was being prosecuted.             So it was sometime

 5   ago, but I don't have more specifics than that.

 6                   THE COURT:     Okay.

 7                   MR. TRIPI:     But I can get that for you.

 8   There is also information that I've learned through

 9   prosecution of the owner of Pharos Gentlemen's Club that

10   there is a witness who has explained that women who

11   would work there, now that case involves allegations of

12   sex trafficking, et cetera, women who are on the outs or

13   who are to be punished in some way get sent to the

14   Outlaws clubhouse to dance.            There is a stripper pole in

15   there, they dance.        There was information, and I'm not

16   saying the information came from the young lady that was

17   assaulted, I want to be clear, I don't want her to be

18   retaliated against.        Information came to me that Mr.

19   Ermin slammed one young lady's face off of the bar

20   inside of the Outlaws clubhouse.

21                   THE COURT:     Can you give me more specifics

22   about that?

23                   MR. TRIPI:     I can't.

24                   THE COURT:     Was it an eye witness that

25   relayed this to you because I, again, I go to, Mr.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 23 of 77
                                                                              22


 1                              USA V. J. ERMIN

 2   Tripi, it's fine for the government to proceed by

 3   proffer, there is nothing inappropriate about that, but

 4   I have to make an assessment as to the reliability of

 5   the evidence.      And if one of the arguments the

 6   government is making is that there is no condition that

 7   can be put in place that would protect against the

 8   danger that Mr. Ermin would present, then the

 9   credibility of these purported acts of violence, it's a

10   relative factor.

11                   MR. TRIPI:     I think I understand what you're

12   saying.     And there are a couple of ways I want to

13   respond directly to that.          I think one way to assess the

14   reliability, I haven't gotten to 7-A, you start stacking

15   information on one another, does he have violent

16   tendencies, has he committed acts of violence?                 I think

17   the answer is yes based on my proffer.              You overlay that

18   with a patch that I just proffered, which is indicative

19   of violence, and the B.B.T. patch, which is his role

20   defending the patches.         Now, you add the person, without

21   being specific, and I'll be as specific as I can as to

22   the time frame, however, and I'll get to this, I'm going

23   to proffer information about the death of a current

24   federal witness that it's only come to light in the last

25   little bit that it's linked to another prosecution, but
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 24 of 77
                                                                             23


 1                              USA V. J. ERMIN

 2   I now believe when I gave a more detailed proffer to a

 3   federal judge about this type of nuanced information, it

 4   resulted in the witness' death just this year.                 So I

 5   apologize, but I'm hesitant to be more precise.

 6                   THE COURT:     It's up to you, but, ultimately,

 7   it's the government's burden, up to me, I'm going to

 8   have to make an assessment.

 9                   MR. TRIPI:     We embrace that, but overall, I

10   argue to you that by virtue, based on his position, and

11   a couple of things that I'm proffering, you're dealing

12   with one of the most dangerous and most powerful

13   individuals in the country.

14                   THE COURT:     I asked you about his role of

15   president of the Outlaws.

16                   MR. TRIPI:     And so this the first vest.            And

17   thank you for getting me back on track, Judge.

18                   20-D, Karen.      Go to the next one.

19                   That is the back of that same vest,

20   obviously it says "New York" on the back.               Now, let's go

21   to 20-E.     So they have different vests for different

22   seasons, different things they wear.              Now we're going

23   into some lighter gear.          20-E, show the back, Karen.           So

24   this one now says "United States," that was proffered

25   yesterday.      Now you're starting to see he has a national
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 25 of 77
                                                                              24


 1                              USA V. J. ERMIN

 2   role in the organization.

 3                   Go to the next one, G, here is another vest

 4   of his.     We're going to go to the next exhibit.                 Zoom in

 5   on the patch area, Karen.

 6                   So you see it says "AOA," Outlaws -- now I'm

 7   forgetting the moniker, the true one.              But it says --

 8                   THE COURT:     It's in your papers.

 9                   MR. TRIPI:     It's the national pin.          Only

10   Arians apply or American Association of Outlaws is what

11   they call it.      That is the forward facing moniker, but

12   there is the national pin right on his vest in gold.

13                   THE COURT:     But does that signify being

14   president of the organization?

15                   MR. TRIPI:     I'm arguing to you and

16   submitting to you, based on all of this information to

17   include his own statements to a person, the national pin

18   on his vest, the United States bottom rocker, the

19   assessment of government experts who investigate these

20   things, that he is the national president.                In the prior

21   proffer, there wasn't a disclaimer that he was the

22   national president.        This is the boss, this is the guy.

23                   They are a little more circumspect with some

24   of their president patches than some of the other clubs.

25   They are obviously more law enforcement conscious than
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 26 of 77
                                                                               25


 1                              USA V. J. ERMIN

 2   some of the other clubs.          There are exhibits that you

 3   have, they literally circulate memos about roving and

 4   court decisions to their membership under the title

 5   "Must Read."      That is found in their clubhouse.                They

 6   are a much more sophisticated organization, much more

 7   law enforcement conscious.

 8                   One of the investigators that I have, two of

 9   them have been investigating a long time, it's their

10   assessment he is the national president.               I've put in

11   court papers back as far as 2021, he is the

12   international president.          He has traveled to set up

13   chapters in Brazil.        And traveled internationally all

14   over the country.        And the other reason you know he is

15   the national president is the paper we pulled from his

16   house.    I would like to go through that a little bit.

17   The A series.      He has letters and people from other

18   parts of the country visiting him on video you're going

19   to see and writing to him.

20                   So, can you just give me a moment, Judge?                 I

21   want to get to the right spot.

22                   All right, Karen.        If we could go to 1-H for

23   a moment.     Here is another example, Judge, these letters

24   were taken from his residence in Route A behind the

25   couch.    For example, he has a letter from membership in
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 27 of 77
                                                                           26


 1                              USA V. J. ERMIN

 2   Australia.

 3                   Can you zoom in on that, Karen?

 4                   So he has a chapter writing him from

 5   Australia.      He has -- if you could Zoom back out --

 6   other chapters from around the country sending him money

 7   and there are some IT exhibits we've added.                There is

 8   about $40,000 in cash seized from his residence.

 9                   THE COURT:     That was from his residence.

10                   MR. TRIPI:     His residence.       There was about

11   another 10,000, these are rough estimates, about another

12   10,000 in the clubhouse.          He controls both of those

13   locations as the leader.

14                   THE COURT:     Because my notes from the

15   transcript are that it was $40,000 from the clubhouse

16   and $10,000 from the residence.

17                   MR. TRIPI:     I believe that if we said it, we

18   got it reversed.       Let me just clarify that.

19                   Agents are going to make a call who can

20   verify that.      I'll correct it by the end.           You'll see

21   the cash.

22                   Ms. Champoux, can you show us the exhibit

23   where the cash is, please?           I don't have it memorized.

24   We'll call that up.

25                   19-F was some of the bulk cash seized from
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 28 of 77
                                                                                   27


 1                              USA V. J. ERMIN

 2   his residence.       Stacks of hundred dollar bills.               All

 3   tolled the day of the search warrants, your Honor, there

 4   were five locations searched, two Outlaws related, the

 5   clubhouse and Mr. Ermin's residence, three the Rare

 6   Breed related.       The Rare Breed president and two of

 7   their clubhouses.        All tolled, there was approximately

 8   $50,000 seized, most of that was from the Outlaws side

 9   of things, about 50 firearms, hundreds, if not

10   thousands, of rounds of ammunition.

11                   THE COURT:     Fifty thousand was seized, 40

12   and 10, it must have all been from the Outlaws, right?

13                   MR. TRIPI:     That was, at the time I was

14   proffering, that was the information I had.                I think

15   more money has been counted, but I don't know exactly

16   how much more.       There were about 50 firearms and 50,000

17   or more dollars.       Some of the ammunition in one of the

18   Rare Breed was federal ammunition from a federal law

19   enforcement agency, that is now being investigated how

20   they acquired it.

21                   THE COURT:     That was seized from where?

22                   MR. TRIPI:     A camper related on the Rare

23   Breed's clubhouse in Wellsville, Mike Roncone's RV.                      He

24   is the president of the Wellsville chapter.                He is

25   associated with Mr. Ermin and his father is associated
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 29 of 77
                                                                            28


 1                              USA V. J. ERMIN

 2   with Mr. Ermin.

 3                   THE COURT:     When you say associated with Mr.

 4   Ermin, what do you mean?

 5                   MR. TRIPI:     I'll get to it.        The Rare Breed

 6   and the -- the Rare Breed is a support club for the

 7   Outlaws, to put it shortly.           And he is a leader of the

 8   Rare Breed.      He had Homeland Security ammunition, which

 9   so far we've tracked had been sold to the United States

10   Marshal Service.

11                   THE COURT:     Sold by the Marshal Service?

12                   MR. TRIPI:     Homeland Security sells it to

13   the United States Marshal Service, that is as far as

14   we've made it so far, but it should not be in the home.

15                   THE COURT:     Marshals should not be in the

16   business of selling --

17                   MR. TRIPI:     Right on the box it says "not

18   for resale," should not have been in a biker leader's

19   RV.     That is going on a little side project upon all of

20   this.

21                   But getting back to Mr. Ermin, in his house,

22   if you look at exhibit 1-M, and this was also in the

23   clubhouse, also in the residence he has lists of all of

24   the Outlaws who are incarcerated.             I've opened it to the

25   page of Mr. Decay so you could see there.               There is also
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 30 of 77
                                                                            29


 1                              USA V. J. ERMIN

 2   a letter that I'm going to talk about, I think I've

 3   referenced it, where somebody else is checking on Mr.

 4   Decay to see if he stood up or is standing up, meaning

 5   not cooperating.       This goes in line with all their

 6   "snitches are a dying breed," "God forgives, Outlaws

 7   don't."     That has real meaning in this context.

 8                   If you go to 1-N, your Honor, you can see

 9   that Mr. Ermin is acquiring documentation from various

10   places.     This is an individual -- Ms. Champoux, I'm

11   going to ask you to just Zoom in in just a moment.                 I

12   don't have a closer look of this one, Judge.                This is an

13   individual, an Outlaws from Tennessee, who is writing.

14   Essentially he had pled guilty in a federal case and he

15   writes a letter, essentially, begging to get back into

16   the club saying that "I pled, but I essentially saved

17   five other Outlaws.        I have three blood brothers in the

18   club."    And this is the type of thing.            All of this is

19   funneling its way to Mr. Ermin.            He is looking at this,

20   and I don't have his cell phone, he is sending a text

21   message to another person or in the text message that he

22   received, it's a screenshot to Mr. Ermin's phone of

23   somebody who may be cooperating in Milwaukee and the

24   person texts a screenshot to him and the screenshot says

25   so and so is essentially a snitch, you should look into
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 31 of 77
                                                                             30


 1                              USA V. J. ERMIN

 2   this.

 3                   THE COURT:     Do you have a date for that?

 4                   MR. TRIPI:     I can get it to you.         I don't

 5   have it with me today.

 6                   THE COURT:     Do you have a date for the

 7   letters from Tennessee?

 8                   MR. TRIPI:     Only that they were seized at

 9   his house.      If you look at exhibit 10, there is a date

10   put on there, February 24, 2015.            But these were seized

11   in his house, obviously.

12                   THE COURT:     I think it's supposed to be 10,

13   right?

14                   MR. TRIPI:     Ten, right.      Another thing that

15   was seized from his residence, if you go to 1-P, very

16   concerning FBI law enforcement sensitive information.

17   Now this is not on the PACER docket.              It's unclassified.

18   This should only be in law enforcement's hands.                    No

19   idea, as I stand here today, how he got this intel

20   between the Kingsmen and Pagans back in the 2015 time

21   period.

22                   If you turn to page 1-Q, if we go to exhibit

23   1-Q, he has people sending them their psychoeducational

24   evaluations on the left, confidential.              Now I understand

25   you might say on the write of that screen we have a
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 32 of 77
                                                                          31


 1                              USA V. J. ERMIN

 2   court transcript, again, when you overlay all of this

 3   monitoring with the mind-set of "God forgives, Outlaws

 4   don't" and "snitches are a dying breed," it creates more

 5   than a picture, particularly when you consider his rank

 6   in the organization.

 7                   1-R is, you're going to see Mr. Decay's plea

 8   agreement.      And if you go through like 1-S, if you look

 9   in the plea agreement, I don't think I took a picture of

10   every page, because you sat through the plea and you

11   know what it's all about, but there is highlighting and

12   tracking and things that show they are trying to assess

13   whether Mr. Decay is a cooperator.             That is clear from

14   the letter from the person in jail to Mr. Ermin.

15                   If we go to 1-U, there is a Jamestown Police

16   Department report with highlighting.              As I stand here, I

17   have no idea how he got that.            And you know from your

18   own personal experience, Mr. Ermin's name was mentioned

19   in connection with the Kingsmen trial.              In fact, Keith

20   Elsaesser, who was here yesterday, when the FBI

21   approached him back in 2018, he wouldn't show them his

22   notes.    He pretended that he wrote for the "Aging

23   Rebel," that is all bunk.          We totally expected to find

24   the notes in the searches, but we didn't find them.

25                   We found confidential reports going back in
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 33 of 77
                                                                               32


 1                              USA V. J. ERMIN

 2   1990 to a RICO case in Virginia in 2010 that has marks

 3   on it.    I have an intel analyst looking to find out were

 4   any of them tampered with, were any of them killed.                  As

 5   I am standing here, I don't know, but they are hording

 6   the stuff and tracking.          That was the Rosga witness

 7   list, the former national president.

 8                   THE COURT:     Where was that found?

 9                   MR. TRIPI:     That was found in the Outlaws

10   clubhouse.      If you look at 1-X, 1-X appears to be a

11   transcript of a Title 3 or some type of wire intercept

12   transcript.      And it's not an intercept, from my reading

13   of it, it says "16 mass 2017" at the top.               So I don't

14   know what court case this is, I don't know where it came

15   from, but it's in Mr. Ermin's residence and he is

16   tracking what they are saying about him on this wiretap.

17   That appears to me, from my experience doing wiretaps,

18   that this looks like a transcript of some type of

19   intercept, whether a consensual recording or Title 3 or

20   some type of state wire.          He is highlighting pages where

21   they are referencing him, "yeah, oh, yeah, just so you

22   know, I had Tommy O from the Outlaws on the phone"

23   highlighted.      And, again, that is a multi-page document.

24   I reviewed it.       There are other highlighted portions of

25   it.   I took a picture of the front page because this is
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 34 of 77
                                                                              33


 1                              USA V. J. ERMIN

 2   not a three-month trial.          And I'm trying to give you the

 3   flavor of what was in there.

 4                   1-Y I think will interest you.            This was

 5   recovered.      This is the letter I was referencing.              Can

 6   we zoom in on the letter portion?

 7                   So it's addressed to Mr. Ermin, and this

 8   person Tony D, who I believe to be Anthony Dloniak,

 9   says, "Tommy One Percenter ended up in Elkton, Ohio at a

10   low."     I think that refers to a low security prison.

11   "The place is 70 percent sex offenders.               Ed was pretty

12   messed up when I got to CCA."            That is a reference to Ed

13   Decay A/K/A "Special Ed."

14                   THE COURT:     Do you know what CCA is.

15                   MR. TRIPI:     I believe Ohio is a CCA in terms

16   of federal, like a federal jail.            I don't think it's a

17   final prison yet.        I can research that more.

18                   "Ed was pretty messed up when I got to CCA.

19   I cleaned him up.        His co Ds all checked in when we

20   arrived."     So when you get to a new prison, you have to

21   show your paperwork to other prisoners to stay on the

22   yard or you have to check in because they will beat you

23   up.     You get a certain amount of time to show your

24   paperwork to prove you didn't snitch.              That is the

25   reference there.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 35 of 77
                                                                            34


 1                               USA V. J. ERMIN

 2                   His co Ds," meaning Ed Decay's other

 3   co-defendants, "checked in when we arrived.                Flip,

 4   Gregory Wilson, claimed Ed told, but did not produce his

 5   paperwork to show me.          In other words, Gregory Wilson

 6   didn't have Ed Decay's paperwork to prove that Ed had

 7   snitched.     Sorry it's a little convoluted.             I'm trying

 8   to decode it here.          Pirk was in Niagara County and he

 9   said that Ed proffered.          But without cooperating,

10   question mark.       LOL.     He also told me that you told him

11   he could patch over whenever he wanted, so apparently

12   Pirk has been offered to patch over to the Outlaws

13   because he rode it out and went to trial and didn't ever

14   tell the full story about all how all those events

15   played out.      What I just told you was Ed was protected

16   based on my assessment and law enforcement's assessment

17   as to why Filip Caruso was the target.              In any event, Ed

18   is good in my opinion.          I can't speak on what I don't

19   know, but I felt he is standing tall.              He is concerned

20   about his wife, but he will have to let that ride.                 Yes,

21   he was concerned about his wife.            Time don't stand still

22   for people who are free.          Let me give you my info, and

23   elicits it for us.          Have someone --

24                   THE COURT:      That is who wrote this?

25                   MR. TRIPI:      Anthony Dloniak.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 36 of 77
                                                                              35


 1                              USA V. J. ERMIN

 2                   THE COURT:     He was a defendant in front of

 3   me -- Mr. Cullinane.

 4                   MR. TRIPI:     Now the name rings a bell.

 5                   Well, that makes sense.         He was in Niagara

 6   County jail with Pirk.         Interesting.

 7                   THE COURT:     Yeah, he was represented by a

 8   guy from Chicago.

 9                   MR. TRIPI:     Even more interesting.          That is

10   the home of the Outlaws.          They were founded in Chicago,

11   Illinois.

12                   Someone send me an e-mail address for true

13   liens, I don't know what that means, and maybe phone

14   number, my legal shit over.           My paperwork is 100

15   percent.     Left Ed with my PSI to send you.             I'm not sure

16   what my future holds, but I know my family is you.

17                   THE COURT:     His wife was prosecuted for

18   something too, Mr. Dloniak, but not to Federal Court.

19                   MR. TRIPI:     It sounds like Mr. Dloniak,

20   maybe he was never confirmed.            It sounds like he may be

21   an associate or member because he ends up saying, "send

22   my love to the guys."         He also leaves --

23                   THE COURT:     There was something, I'm just

24   going on memory, there was something that came up about

25   Mr. Decay in connection with that prosecution, but I
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 37 of 77
                                                                            36


 1                              USA V. J. ERMIN

 2   don't recall what it was.

 3                   MR. TRIPI:     I'm going to look into that.

 4                   But he leaves his PSI with Decay so Decay

 5   can send it, probably to Ermin.            This is the way -- this

 6   is their system of checks and balances.               So that is the

 7   letter.

 8                   THE COURT:     This was recovered in the search

 9   warrant at Mr. Ermin's house.

10                   MR. TRIPI:     See that Post-it note there,

11   this photo was taken in the FBI, I've looked at it, and

12   I've asked them to photograph it for this purpose today

13   and put a Post-it note next to the letter to show where

14   it came from.

15                   Same thing with 1-Z.        I pulled this to show

16   you that they had a confidential memorandum from U.S.

17   Probation in 2010.        I don't know the significance of the

18   case yet, but, again, their ability to acquire things

19   that are in FBI custody or law enforcement custody, now

20   Mark Lesser was an Outlaw who was prosecuted in

21   Tennessee, may have sent his own probation report to the

22   Outlaws, to Mr. Ermin, but that is their way of trying

23   to prove they are not betraying the brotherhood or, in

24   Mr. Lesser's case, to try and get back in the good

25   graces.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 38 of 77
                                                                              37


 1                              USA V. J. ERMIN

 2                   If you look at 1-AA, I just had to take a

 3   picture of this to show you that the former national

 4   president is mailing Mr. Ermin directly at his

 5   residence.      This is this succession plan.           This is the

 6   sequence of national leadership.            Mr. Rosga,

 7   Hillbilly -- Hillbilly, in the meantime, I say Hillbilly

 8   took a medical leave.         I didn't think it was pertinent

 9   to show you that letter.          In the letter he was

10   referencing taking medical retirement, Hillbilly was in

11   Florida.

12                   THE COURT:     When does the government believe

13   that Mr. Ermin became national president.

14                   MR. TRIPI:     Sometime after Taco Bowman died

15   in 2019, he went to that funeral, it was attended by

16   very many, so some point after 2019.

17                   I'm skipping over some other exhibits that

18   you've seen already and that you've looked at.                 Another

19   one I want to clue you in, again, this is all still in

20   his residence.       If you look at 1-AE, 1-AE, these are ATF

21   confidential source reports regarding the shooting, the

22   James "Jimbo" Costa shooting, and if you go to 1-AF,

23   this is an ATF CI report, and you see someone wrote on

24   top, this is Phelps number, so they are assessing who

25   are the cooperators, and this is in Mr. Ermin's area of
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 39 of 77
                                                                        38


 1                              USA V. J. ERMIN

 2   his house, a lot of his papers were by his desk.

 3                   1-AG, again, shows tracking.           This is a

 4   media report, but if we hone in on what was highlighted,

 5   it was already highlighted when recovered, tracking what

 6   sources are saying in various outlets.

 7                   1-AH, tracking what was seized from another

 8   Outlaws' house, highlighting things that seem important

 9   to them.     This references that a piece of mail addressed

10   to Paul Raslawski at Pharaoh's.            Mr. Ermin is the

11   manager of Pharos Gentlemen's Club.             That is the

12   location that sex trafficking --

13                   THE COURT:     This Paul -- I don't even know

14   how to pronounce it.

15                   COURT REPORTER:       Can somebody spell it?

16                   MR. TRIPI:     R-a-s-l-a-w-s-k-i.

17                   THE COURT:     And who is he?

18                   MR. TRIPI:     He is a one percenter Outlaws

19   member.     Previously was part of their support clubs

20   known as the Black Pistons.           He is also a cook at Pharos

21   Gentlemen's Club.        In 2021, law enforcement executed a

22   search warrant at his residence at 19 Grotton.

23                   THE COURT:     And that is what came up

24   yesterday.

25                   MR. TRIPI:     In or about March of 2021.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 40 of 77
                                                                        39


 1                              USA V. J. ERMIN

 2                   THE COURT:     Where Mr. Barnes' attorney

 3   indicated that Mr. Barnes used to live there.

 4                   MR. TRIPI:     Yeah.     In fact, the agent who is

 5   back in the front row of the courtroom, observed Mr.

 6   Barnes there cutting the lawn one day.

 7                   THE COURT:     Well, let's not get into Mr.

 8   Barnes without him being present, but I just want to

 9   make sure I'm following.

10                   Paul Raslawski.

11                   MR. TRIPI:     No.     So he had a number of

12   firearms seized from his residence.

13                   THE COURT:     In March of 2021.

14                   MR. TRIPI:     Yes, March 1st, 2021, which is

15   on the top there.        He is also a cook at Pharos and there

16   is multiple witnesses who have reported he is involved

17   in distribution of various drugs.

18                   Now, the two searches of his residence have

19   come up largely empty in terms of drugs, but they

20   recovered firearms.

21                   THE COURT:     Is he charged federally?

22                   MR. TRIPI:     He is charged in a pending

23   Criminal Complaint at the Magistrate.

24                   THE COURT:     With?

25                   MR. TRIPI:     User in possession of firearms
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 41 of 77
                                                                              40


 1                              USA V. J. ERMIN

 2   at this point.

 3                   THE COURT:     But not related to this March

 4   2021 search?

 5                   MR. TRIPI:     No, that search happened, that

 6   was right around the time that Mr. Gerace had been

 7   indicted.     That search happened, dealing with some Covid

 8   issues as well, and then the AUSA who handled that left

 9   and new investigators started reinvestigating Mr.

10   Raslawski, that is why you had the delay.               And the last

11   couple of weeks there was another search at a house, the

12   same house, and a cabin, and more firearms were

13   recovered from the cabin.          And that is where that case

14   stands.

15                   If you look at 1-AK, you can see Mr. Ermin

16   tracking filings that I wrote in that related case,

17   19CR227, but I think that is a good point to step back

18   and talk about the death of a federal witness.                 So I've

19   proffered to you the things that are being tracked,

20   different things from around the country, different

21   things as it related to that case.             Mr. Ermin now knows

22   by execution of the search warrants and attachment B,

23   that some of the things that law enforcement was

24   authorized to search for included evidence of

25   racketeering activity, evidence of the relationship
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 42 of 77
                                                                              41


 1                              USA V. J. ERMIN

 2   between the Outlaws and the Rare Breed, and evidence

 3   relating to Crystal Quinn who was a federal witness.

 4   Let me tell that story for a moment.

 5                   Okay.    Crystal Quinn was somebody who was

 6   approached by the FBI in or about January of 2023.                 She

 7   was later charged by Criminal Complaint.               She made some

 8   false statements to them and she had been involved

 9   sending a Facebook threat to a witness who was going to

10   testify in case No. 19CR227.           Quinn was charged by

11   Criminal Complaint.        Then, with her attorney, she

12   ultimately proffered several times and she provided

13   information about Peter Gerace, Joseph Bongiovanni and

14   members of the Outlaws.          She expressed to several FBI

15   agents in that proffer and this Assistant United States

16   Attorneys that she was fearful of the Outlaws and that

17   they would kill her, her mom and her dogs.                She

18   nevertheless pressed forward and she signed a

19   cooperation agreement and she was given pretrial

20   diversion.      She was a bit of a drug user, but not a bad

21   person.     And Lillian Cullen with United States Probation

22   was monitoring her.        And everything was going fine.

23   Then after she testified in grand jury, Mr. Gerace was

24   charged with witness tampering and we had a detention

25   hearing, much like this, because he had been out, and I
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 43 of 77
                                                                                42


 1                              USA V. J. ERMIN

 2   was answering a lot of questions similar to these types

 3   of questions, and I was doing the best that I can to,

 4   maybe, to give more information than I've given you, but

 5   it became clear to anyone that was watching that she was

 6   cooperating.      And then we went back to doing what we do

 7   in Federal Court and she went back to her life and rats

 8   had been starting to show up at her house once, then

 9   another.     She reports it to the FBI.           FBI put a camera

10   in her house, things like that.            We continue to prepare

11   for the trial, things happen, the trial doesn't go off

12   on time.

13                   Now Mr. Gerace gets detained March 27th,

14   2023, and we know that he was furious about it.                    And I

15   don't want to be more specific as to how we know that

16   because he is not the one who is sitting here in a

17   detention hearing.        But on good authority, he was

18   complaining about Crystal Quinn, not by name, but by

19   scenario.     And he said that he had long reach and people

20   who could tie up his loose ends.            Okay.     Fast forward

21   and that is where that stood for a while.               We learned

22   that information, I want to say, sometime around July,

23   but in a nice -- it was in its own bucket, Gerace said

24   that in his case.        And then separately, you know,

25   Crystal, she was smoking some weed and giving Lillian,
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 44 of 77
                                                                              43


 1                              USA V. J. ERMIN

 2   she was being responsive, but smoking weed, violated the

 3   pretrial diversion agreement, so I told her attorney,

 4   bring her in, she is just going to give her a pep talk,

 5   can't smoke weed, not part of the agreement.                Somewhere

 6   in there, a guy named Simon Gogolack, who had gone to

 7   high school with her, popped back into her life out of

 8   nowhere.     Hadn't seen her in 10 years, bumped into her

 9   in a bar.     He spent the next week -- now he is from

10   Wellsville, no apparent connection to Gerace, no

11   apparent connection to Ermin, but he went to high school

12   -- I know, I now know he went to high school with Quinn

13   and they were friends when they were 18 years old and

14   they got in trouble together in that time frame.                   He,

15   now from a review of his text messages, it's clear he

16   was trying to get her to go to Wellsville.                But very

17   quickly, she was texting with him as though, now, as I

18   stand here now, I've seen her phone and people have seen

19   his phone.      That took months to put together, weeks, if

20   not months.      She is very quickly becoming in love or

21   very lovingly referencing him.            He is luring her to

22   Wellsville.

23                   On a different text thread in the middle of

24   July, Simon Gogolack is texting offering hit man

25   services, quoting lines out of the "Irishman" telling
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 45 of 77
                                                                              44


 1                              USA V. J. ERMIN

 2   how he'll clean houses and park cars.              There is a line

 3   out of the movie the Irishman, you can YouTube it, I

 4   don't have it for you today, where I think it talks

 5   about you paint houses.          And he butchers the line.         But

 6   somewhere in mid July, Simon Gogolack is offering hit

 7   man services in another context.            So very much --

 8                   THE COURT:     To another --

 9                   MR. TRIPI:     To another drug dealer.

10                   THE COURT:     Unrelated to this?

11                   MR. TRIPI:     Totally unrelated, someone he

12   gets drugs from in the world.

13                   THE COURT:     He is just saying, hey, I want

14   to become a hit man?

15                   MR. TRIPI:     He is saying, "I would like to

16   get that small business started that I talked to you

17   about."

18                   THE COURT:     Okay.

19                   MR. TRIPI:     And referencing being a hit man,

20   while he is trying to lure Crystal Quinn to Wellsville.

21   Of course, this took months and months to put together;

22   thirty search warrants, the Cloud at Google, you name

23   it, working around the clock.            So then they end up there

24   while trying to prepare for trial, they end up in

25   Wellsville.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 46 of 77
                                                                             45


 1                              USA V. J. ERMIN

 2                   THE COURT:     They being?

 3                   MR. TRIPI:     Quinn and -- Quinn and Gogolack,

 4   he succeeds.      He convinces her to go to Wellsville,

 5   which I don't know anybody in the word that goes to

 6   Wellsville for vacation.

 7                   THE COURT:     It used to be a very wealthy

 8   area, that is why it's called Wellsville.

 9                   MR. TRIPI:     Really?

10                   THE COURT:     It was a nice area.

11                   MR. TRIPI:     She goes there.        Still nothing

12   on the surface of that links to any of this.                And they

13   spend -- she brings him right to a poker game.                 Now he

14   was saying, I don't have a ride there, they take her

15   car, her mom's car.

16                   THE COURT:     A poker game in Wellsville.

17                   MR. TRIPI:     Yeah, he is telling her, I need

18   a ride, help me get back to Wellsville.               These aren't

19   verbatim.     I need to get my I.D. and do something with

20   the taxes.      Finally she convinces her mother to loan the

21   car and drives her mom's car to Wellsville.                And they go

22   right to a poker game with a whole bunch of dudes and

23   she is the only woman that I could see from the video.

24   Gogolack links up with another guy named Howard Hinkle.

25   And there are text messages where he is now with Crystal
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 47 of 77
                                                                                 46


 1                              USA V. J. ERMIN

 2   indicating to Hinkle he is going to come to the poker

 3   game, so they go there.          And then Crystal is standing

 4   all alone while Gogolack and Hinkle walk off, and I

 5   think there is a strong inference as to what they were

 6   talking about there.         I'm going to leave that there for

 7   now, that is for another day.            And then they pal around

 8   through the course of the rest of the night, Gogolack

 9   and Hinkle.      They bring Crystal places and ultimately

10   back to Gogolack house.

11                   THE COURT:     They being Hinkle and Gogolack?

12                   MR. TRIPI:     Correct, correct.        And this is

13   where we get into some sensitive techniques and warrants

14   that we've conducted, but what it ultimately transpires,

15   I think between the hours of 3:30 a.m. and 6 a.m. on

16   July 28th, Crystal, instead of calling 911, is texting a

17   friend at an old number in her phone.              You know how you

18   get a new phone and maybe somebody has a new number and

19   you store both numbers and you don't, if you're too lazy

20   to delete the old one, you may be calling the old one.

21   And she is texting this friend at a number that is no

22   longer this friend's number:           "Simon is setting me up

23   with the bikers.       10 beams on me," meaning scopes,

24   pointed on her, scopes with firearms on repeat.                    She is

25   -- she is in terrible fear, terrible.              Then nothing
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 48 of 77
                                                                                 47


 1                              USA V. J. ERMIN

 2   happens.     That night.      Her phone, I spoke with a

 3   computer scientist at the FBI who has looked at her

 4   phone, and it looks like sometime around, ballpark, 6:30

 5   p.m. on July 31st, about a day and a half after those

 6   events where she is texting in utter fear, her phone

 7   stops being utilized by a human.            So there is stuff

 8   happening on the phone, but it's just not natural action

 9   of a human being operating the phone.              About a 24-hour

10   period later, Simon calls in her body, but only because

11   certain other events forced his hand.              Crystal's mom was

12   looking for her and looking for her car and was going to

13   call the state police because she hadn't heard from her

14   daughter.     And that is what triggered him to call in the

15   body.    It had been stiff for upwards of 24-hours or

16   more, full rigor.        She had been dead for a long time.

17   Of course we don't know any of this and it looked like,

18   to the first responders, like a normal overdose

19   accident.     We weren't even notified right away.                 We had

20   to figure out where she ended up.             How she ended up

21   there.     By the time we were fully onto it, her body had

22   been cremated and already been done.              But there was an

23   autopsy done where the results wouldn't come back for

24   over a month later, sometime in September, and then it

25   became real.      She had enough Fentanyl in her system,
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 49 of 77
                                                                               48


 1                              USA V. J. ERMIN

 2   somebody who didn't use Fentanyl, ever, and was against

 3   it, had friends die of it, used cocaine and other things

 4   like that.

 5                   THE COURT:     Well, you say used Fentanyl,

 6   Fentanyl is in a lot of drugs.

 7                   MR. TRIPI:     It is in a lot of drugs, but

 8   this was enough cocaine to, or, sorry, Fentanyl to kill

 9   everyone in the courthouse, so nobody accidentally

10   overdoses with that much.          She had 1200 nanograms in

11   her.     A low end overdose is three.          So, she had instant

12   death, not party amount.          The scene was cleaned.           That

13   appeared clear.

14                   THE COURT:     Were there any drugs on the

15   premises?

16                   MR. TRIPI:     Very little.       Hash, what I

17   presume is hash, hasn't been fully tested yet.                 I don't

18   know if they test for hash anymore, honestly.                 It wasn't

19   handled like a full-blown crime scene by the police, it

20   looked like an accident.          About a week later, that is

21   when the FBI went down there and did a search warrant

22   and ultimately charged Gogolack with guns and drugs.

23   Right.     And then it progressed from there over time and

24   Gogolack links to Hinkle and Hinkle links to the Rare

25   Breed and Rare Breed links to the Outlaws.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 50 of 77
                                                                        49


 1                              USA V. J. ERMIN

 2                   THE COURT:     When you say Hinkle links to

 3   Rare Breed, where is that from?

 4                   MR. TRIPI:     There has been surveillances and

 5   there has been reporting, video surveillance, video

 6   footage, and a warrant on his phone where he is with

 7   Rare Breed members, Hinkle is with Rare Breed members.

 8   And there is an obituary post when Hinkle's father died,

 9   Rare Breed posted on his phone and he is communicating

10   with Mike Roncone about certain things.

11                   THE COURT:     Hinkle is?

12                   MR. TRIPI:     Hinkle is.

13                   THE COURT:     And then you look at the Rare

14   Breed meeting minutes, you know how the Kingsmen kept

15   meeting minutes?       Well, so, for the Rare Breed and

16   Hinkle was removing scrap from their clubhouse, things

17   like that.      And so Hinkle, Gogolack and of course the

18   night that there was a lot of the fear, they were

19   together the night that a lot of the fear that Crystal

20   started kicking up.        That was the sequence of events

21   that led us to this.         It wasn't much right from the

22   beginning where we now know that Mr. Ermin has some

23   nexus to the Rare Breed.          I told you they are a support

24   club.    We go back and look and we go back and look who

25   visited Mr. Gerace after Crystal's complaint was
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 51 of 77
                                                                        50


 1                              USA V. J. ERMIN

 2   dismissed from PACER.         An organization that has a PACER

 3   account, I don't have the records to say they pulled

 4   that one yet, but we know from other information, that

 5   Mr. Gerace was provided a copy of Crystal's Criminal

 6   Complaint, that got dismissed.

 7                   THE COURT:     Say that again.

 8                   MR. TRIPI:     There is information that an

 9   individual, an investigator, provided Mr. Gerace with

10   Crystal's Criminal Complaint.

11                   THE COURT:     That was filed in Federal Court.

12                   MR. TRIPI:     Yep, and so that then that

13   complaint, when she enters the pretrial diversion and

14   cooperation, gets dismissed.

15                   THE COURT:     And the complaint is publically

16   filed.

17                   MR. TRIPI:     Publically filed.

18                   THE COURT:     So then the dismissal of the

19   complaint is publically file, dismissed with no

20   disposition, which would lead a reasonable person to

21   conclude there some type of --

22                   MR. TRIPI:     Yes.    You know who the next

23   person who visited Mr. Gerace was after that?

24                   THE COURT:     After what?

25                   MR. TRIPI:     The dismissal of the complaint.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 52 of 77
                                                                                 51


 1                              USA V. J. ERMIN

 2                   THE COURT:     Okay.

 3                   MR. TRIPI:     John Ermin on April 4th.             Eight

 4   days later he has made two visits.

 5                   THE COURT:     Two visits total since Mr.

 6   Gerace has been in custody?

 7                   MR. TRIPI:     Yes.     One was after Ms. Quinn's

 8   complaint got dismissed and one was in July, July 6th,

 9   those two, that's it.

10                   THE COURT:     When did Ms. Quinn die?

11                   MR. TRIPI:     August 1st she died -- withdraw

12   that.    It would seem she may have died July 31st, given

13   the full rigor she was in.            Her body was called in

14   August 1st.      We didn't become aware because she was

15   supposed to meet with the government on August 1st, her

16   attorney called U.S. Attorney's Office asking "is she

17   there," she wasn't there.          The attorney couldn't get

18   ahold of her.      Lillian Cullen couldn't get ahold of her

19   and said this is not like her.            August 2nd, the attorney

20   calls the U.S. Attorney's Office and says, "She is dead.

21   I don't know where yet."          It want from there.         The

22   attorney knew first.

23                   And so FBI is not out to Wellsville until

24   August 3rd by the time they figure out where any of this

25   happened.     Her autopsy is done, no law enforcement
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 53 of 77
                                                                             52


 1                              USA V. J. ERMIN

 2   attended the autopsy.         And arrangements are already

 3   being made to cremate the body.            August 8th is when they

 4   are out there doing search warrants at Gogolack's, and

 5   that sequence of events plays its way back.                And now we

 6   look back and say, standing here today, that she

 7   cooperated, she flipped, she testified in grand jury,

 8   Gerace got detained, Gerace got mad, Gerace made

 9   statements that he could have people killed and had long

10   reach.    And the manager of his club is the national

11   president of the Outlaws who controls legions of people,

12   who has support clubs and puppet clubs under him, which

13   include the Rare Breed.          And then someone who wants to

14   be a hit man and hangs out to the Rare Breed in

15   Wellsville, injects himself back into her life and lures

16   her in her life and she overdoses and it is staged to

17   look like a death.

18                   THE COURT:     And when you say it was some

19   drug dealer, that is someone different than Hinkle?

20                   MR. TRIPI:     Yes, there is a little bit of

21   inference that I'm drawing here.            It would appear that

22   maybe he was buoyed by this is his new business, he was

23   beginning, he references starting a new small business.

24                   THE COURT:     So, in other words, you're

25   potentially, I mean, your argument, I guess, is that the
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 54 of 77
                                                                           53


 1                              USA V. J. ERMIN

 2   whole purpose of him reestablishing this connection with

 3   Ms. Quinn was to kill her.

 4                   MR. TRIPI:     Either that or he reestablished

 5   and opportunity arose.         It could go either way.

 6                   THE COURT:     But he was introduced into this

 7   business of killing people through that and then you're

 8   thinking he was branching out with this other drug

 9   dealer.

10                   MR. TRIPI:     This other drug dealer was

11   within the same time frame.           I don't know.       The other

12   drug dealer's text messages were close enough in time

13   that, as I stand here without having them in front of

14   me, I don't know which came first, but they were close

15   in sequence.

16                   THE COURT:     Can you give me the dates again

17   for when your proffer was in federal court that resulted

18   in Mr. Gerace being detained?

19                   MR. TRIPI:     The proffer occurred over two

20   days, March 24, I think that was a Friday, and March 27,

21   which I think was a Monday.           And he was detained that

22   day.    That is when the day he learned his final

23   detention status, I guess, was the 27th.               And then

24   thereafter he made statements about --

25                   THE COURT:     So April 4th, you said, though,
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 55 of 77
                                                                        54


 1                              USA V. J. ERMIN

 2   is when Mr. Ermin visits Mr. Gerace in jail.

 3                   MR. TRIPI:     Within eight days.

 4                   THE COURT:     Which is the first time because

 5   he had just recently been detained.

 6                   MR. TRIPI:     Correct.

 7                   THE COURT:     And then the statements that

 8   you're attributing to Mr. Gerace occurred occurs about

 9   where it's -- the government believes there is proof

10   that Mr. Gerace knew Ms. Quinn was the one responsible.

11                   MR. TRIPI:     After he is detained, but before

12   Mr. Ermin visits him.

13                   THE COURT:     And then Mr. Gogolack reaches

14   out to Ms. Quinn, when was that?

15                   MR. TRIPI:     About the week before she died,

16   so in July.      And July was the next month that Mr. Ermin

17   visits Gerace.

18                   THE COURT:     So Mr. Ermin visits Mr. Gerace

19   July 6th.     And then Mr. Gogolack reaches out to Ms.

20   Quinn --

21                   MR. TRIPI:     I want to say about three weeks

22   later, week of July 22nd, 23rd, somewhere in there.

23                   THE COURT:     Do you have anybody

24   establishing, anybody directing or enticing or

25   encouraging Mr. Gogolack to proactively reach out to Ms.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 56 of 77
                                                                               55


 1                              USA V. J. ERMIN

 2   Quinn?    I know that is the Government's theory that he

 3   did this to engage in this conduct, but do you have any

 4   proof that somebody approached him about doing it?

 5                   MR. TRIPI:     This would require a very

 6   detailed proffer that I'm, in this setting, reluctant to

 7   give due to ongoing investigation.             But, also, it's very

 8   circumstantial.       I'll concede to that.         It's a very

 9   circumstantial, it's circumstantial, but we believe

10   strong circumstantial.

11                   Search warrant affidavits in this matter

12   have been 169 pages, so it's very challenging for me to

13   give you more than I'm giving you now.              And I'm exposing

14   a lot here, so that you have a full context here.                  This

15   is still going on.        The grand jury just seized a whole

16   bunch of devices from Mr. Ermin's residence within a

17   week.

18                   THE COURT:     You don't have anything to

19   proffer with respect to those?

20                   MR. TRIPI:     No.    We got the search warrant

21   signed Monday, so I'm not certain of things yet from

22   those devices.       But it's clear that she was killed

23   because she was a witness and that the two people that

24   we now know had the biggest motive to silence her were

25   Gerace and Ermin, as the leader the Outlaws.                And, in
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 57 of 77
                                                                              56


 1                              USA V. J. ERMIN

 2   fact, she previewed it with us that she was scared they

 3   would kill her.

 4                   THE COURT:     Did she have evidence against

 5   Mr. Ermin?

 6                   MR. TRIPI:     She had been in that clubhouse

 7   and overdosed from cocaine use in that clubhouse.                  She

 8   had a -- she called it a seizure.

 9                   THE COURT:     In the Outlaws clubhouse?

10                   MR. TRIPI:     Yes.    She said she had a

11   seizure.     If you look it up, a seizure is an overdose of

12   cocaine.

13                   THE COURT:     Did she identify Mr. Ermin as

14   being present?

15                   MR. TRIPI:     No, she went there with two

16   other people.      If you're okay with it, two other

17   Outlaws, patched Outlaws.          I would leave it at that for

18   now.    I don't think their names particularly advance my

19   argument here.

20                   THE COURT:     Okay.     Anything else where she

21   identified Mr. Ermin as engaged in criminal activity?

22                   MR. TRIPI:     I mean, he was identified as the

23   leader.

24                   THE COURT:     By her?

25                   MR. TRIPI:     I'm pretty sure, yeah.          And she
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 58 of 77
                                                                                57


 1                              USA V. J. ERMIN

 2   is not the one I was referencing earlier when I

 3   referenced that.       So I know there is a lot there.              But

 4   that is just one branch of the tree.              There is a whole

 5   organization here.        I wanted to pull up, I wanted to

 6   show you how this is playing out in a different context.

 7   He is at the head.

 8                   Can you pull up the press release from May

 9   23rd, 2023 that we marked today, Karen?               I just don't

10   know what number it is since I had it just today.

11                   There is a prosecution in another town where

12   two Outlaws were going to go to trial for a stabbing,

13   and now the witness has vanished, and the case got

14   dismissed.      That happened in May.

15                   THE COURT:     Say that to me again.          I'm

16   sorry, Mr. Tripi.

17                   MR. TRIPI:     So this is a case from Madison

18   County.     I don't think we have the title here.              And I

19   apologize, I think the title is "Charges dismissed in

20   motorcycle club stabbing after crucial witnesses goes

21   missing."     Two Outlaws had stabbed somebody for wearing

22   unauthorized Outlaws gear.           Murdered a person, I believe

23   it's a murder -- no, the person lived.              I'm sorry.       And

24   now that witness is missing.           This is May of 2023.          So I

25   wanted to point you to something that talks to the
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 59 of 77
                                                                             58


 1                              USA V. J. ERMIN

 2   larger mission statement of "snitches are a dying

 3   breed," "God forgives, Outlaws don't."

 4                   Now, Karen, if we could go to Mr. Ermin's

 5   tattoos, there is a photograph of him inside Mr.

 6   Gerace's backyard last Labor Day sitting next to Mr.

 7   Barnes.     And you can see on Mr. Ermin's left arm a

 8   tattoo that says "B.B.T." on it, baseball bat team.

 9                   THE COURT:     That is crooked.

10                   MR. TRIPI:     He has two things going on.         He

11   is wearing a t-shirt that says "God forgives."

12                   THE COURT:     No offense, but who is who?

13                   MR. TRIPI:     The one holding the can is Mr.

14   Ermin.

15                   THE COURT:     Okay.

16                   MR. TRIPI:     And the other one who looks like

17   he is looking right at the camera is Mr. Barnes.

18                   THE COURT:     Okay.

19                   MR. TRIPI:     But that tattoo on his arm, I'm

20   told it says B.B.T.        It's a little blurry but you can

21   see the t-shirt says "God forgives, Outlaws don't."

22   That is in line about the B.B.T patch, that was also on

23   his patch.      And so then, Judge --

24                   THE COURT:     This is at a party at Mr.

25   Gerace's?
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 60 of 77
                                                                        59


 1                              USA V. J. ERMIN

 2                   MR. TRIPI:     While he is on pretrial release.

 3                   THE COURT:     About what time period?

 4                   MR. TRIPI:     Labor Day of 2022, a Labor Day

 5   party.    I don't know if it was exactly on Labor Day.

 6                   And then another thing I wanted to point

 7   out, I referenced it earlier, 1-AV is the exhibit where

 8   it's posted in the Outlaws clubhouse, "Must read" or

 9   it's in the Outlaws' clubhouse, I don't know if it was

10   still posted, "Must read" and it talks about FBI using

11   roving wiretaps against members of the Genovese family

12   and it continues through five pages and provides like

13   some legal analysis.         And what the Judge ruled in that

14   case.    Again, I would argue that is consciences of guilt

15   that they are a criminal organization.

16                   If you look up on notes that we found in Mr.

17   Ermin's 2-A, he is writing, "nobody talks, everybody

18   walks," seems like an instruction where he is writing

19   not to talk if they are shot, stabbed, beat to cops or

20   to court.     If they don't understand this, we don't need

21   them.

22                   THE COURT:     Where is this?

23                   MR. TRIPI:     Found within his desk area.

24                   THE COURT:     Like a loose piece of paper?

25                   MR. TRIPI:     He had a like a desk area some
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 61 of 77
                                                                           60


 1                              USA V. J. ERMIN

 2   papers that were like on the side, it was in his

 3   residence.      Another page 2-B, he talks about what dry

 4   snitches is, jail letters, phone visiting rooms, it's

 5   dry snitching.       It ties our hands.        Lose phones, texts,

 6   e-mail, social media, dry snitching, pillow talking,

 7   discussing in front of citizens, cunts, dry snitching.

 8   Exhibit 2-C --

 9                   THE COURT:     This was found in Mr. Ermin's

10   house.    Do you know for a fact this is his handwriting?

11                   MR. TRIPI:     I'm asking you to make that

12   inference.      It's in his area, it doesn't look like

13   female writing to me.         People have -- every woman I know

14   has nicer handwriting than me.            That is all I'm saying.

15                   THE COURT:     In other words, your

16   understanding is that he lived at the home with his wife

17   and that's it.       There wasn't another male in the home?

18                   MR. TRIPI:     Yeah, and she was -- she is his

19   wife, she wears the vest that says "property of" old

20   lady vest.      This is both people are fully indoctrinated

21   into the lifestyle here.          But this appeared to be his

22   area.    Many of the devices had Arian-nation type

23   monikers on them, swastika-type things.               I know you've

24   seen some of the photos pulled out of the clubhouse,

25   huge swastika.       That is a very dangerous, and I
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 62 of 77
                                                                              61


 1                              USA V. J. ERMIN

 2   understand it's First Amendment protected speech --

 3                   THE COURT:     Judge Schroeder obviously made

 4   the point that, hey, you know, it's not like you have to

 5   endorse this, it's not -- it doesn't mean we lock up

 6   everybody that thinks that.

 7                   MR. TRIPI:     One hundred percent.         But when

 8   you look at the whole forest here, then that dangerous

 9   ideology, it only takes an instant for an ideology to

10   become action.       We learned that in the Tops case, so

11   there is a dangerous assessment there.              Just by virtue

12   of that speech, sure, you can be a bigoted racist all

13   you want, but when it's something that you put on almost

14   everything you own and you put the flag on the wall and

15   in the Outlaws clubhouse, the place where you command

16   allegiance, you're telling everybody else under you,

17   this is how we operate, this is our belief system.                 And

18   then you hang a rat behind the bar from a noose, did you

19   see that picture?

20                   THE COURT:     Yeah.

21                   MR. TRIPI:     And, yeah, and then you wear

22   shirts with guns that say, "snitches are a dying breed,"

23   and then other places in the country prosecutors are

24   losing witnesses.

25                   THE COURT:     Wait, wait, wait, do you have
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 63 of 77
                                                                               62


 1                              USA V. J. ERMIN

 2   proof of that?

 3                   MR. TRIPI:     Well, I just, I'm referencing

 4   the press release I just showed where Outlaws stabbed

 5   somebody and now the witness is missing.               And in the

 6   case here, a woman spoke with the Outlaws and now she is

 7   dead, you start stacking all of that up, there is not --

 8   there is not a leap here.          There is a strong inference

 9   that should compel the Court.

10                   But then he says it himself by wearing this

11   "Free Taco" shirt, Taco Bowman was a prior national

12   president in for RICO murder, operating a number of RICO

13   murders, and he continued to, and he is wearing a "Free

14   Taco" shirt.      America's most wanted Outlaw, they treat

15   him like God.      The person who is the most notorious

16   Outlaw in probably their recent history.               That type of

17   commitment to a cause endangers everybody, not just

18   witnesses in federal cases, the communities.

19                   Other bikers, you know, you're going to see

20   a video of henchmen, underlings of Mr. Ermin, to include

21   Mr. Barnes, going to a restaurant to confront with a

22   show of force an Outlaw who was wearing patches that he

23   wasn't supposed to be wearing.            Maybe this a good time

24   to go to that.

25                   THE COURT:     Let me ask you a question.           How
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 64 of 77
                                                                             63


 1                              USA V. J. ERMIN

 2   much longer do you expect?

 3                   MR. TRIPI:     I didn't realize.

 4                   THE COURT:     How much longer do you think

 5   your proffer is because I have questions for you as well

 6   and we obviously haven't heard from the defendant.

 7                   MR. TRIPI:     I would, let's play the videos,

 8   if we could, and they are relatively short, and then I'd

 9   be happy to respond to whatever questions you have, if

10   that works for the Court.

11                   THE COURT:     Okay.

12                   MR. TRIPI:     I'm happy to continue another

13   day if we need to as well.

14                   THE COURT:     Okay.     Why don't we play the

15   videos?

16                   MR. TRIPI:     I believe exhibit 21.          So this

17   exhibit is going to have two sets of videos, two folders

18   here.     Halligan's is a bar, and if I could preview it

19   for you.     This bar -- let me get the date of this

20   footage, if you don't mind, your Honor.

21                   We'll have to open one maybe to see the

22   date, Judge.

23                   THE COURT:     Okay.

24                   MR. TRIPI:     This is Halligan's bar, I

25   believe, in Lockport, New York.            Pause it, please, for
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 65 of 77
                                                                              64


 1                              USA V. J. ERMIN

 2   the record.      And I have no information that the date is

 3   inaccurate.      The date at the top of the video is

 4   November 25, 2020.

 5                   THE COURT:     This is in Lockport?

 6                   MR. TRIPI:     This is a bar in Lockport, New

 7   York.    I don't think it's in existence anymore.

 8                   THE COURT:     It went out of existence pretty

 9   quickly.

10                   MR. MUSCATO:      What was the name of the bar?

11                   THE COURT:     Halligan's.

12                   MR. MUSCATO:      Halligan's?

13                   THE COURT:     That is what you said, right?

14                   MR. TRIPI:     That is what it was saved as.

15   November 25, 2022.

16                   Footage was obtained by FBI task force

17   officer who is in court.          And what you have here, just

18   to tee it up, there is a Kingsman who was wearing

19   unauthorized patches.

20                   THE COURT:     Kingsman or Outlaws?

21                   MR. TRIPI:     Kingsman.      This Kingsman is

22   going to be confronted for wearing these patches.                  And

23   you're not going to be able to hear the audio that well,

24   but the -- you're going to see him being sat down at

25   sort of this bench to the right and surrounded by a
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 66 of 77
                                                                           65


 1                              USA V. J. ERMIN

 2   whole bunch of Outlaws, one of whom has a cane, and

 3   being given a talking to.          And then you're going to see

 4   other video angles of other Outlaws grabbing the phones

 5   from a woman at the bar.          You're going to see them pour

 6   into the back, because, initially, this Kingsman goes

 7   into the kitchen, almost to deescalate the situation,

 8   and they go back in the kitchen and bring him out.                 That

 9   includes Mr. Barnes and includes Mr. Elsaesser, who was

10   here yesterday watching in court, and a number of

11   others.

12                   THE COURT:     Is Mr. Ermin there?

13                   MR. TRIPI:     Mr. Ermin is not here, but this

14   is, again, it would apply to him, because these are

15   people he controls.        He is a leader of everyone you're

16   going to see in this situation.

17                   Then I'm going to play another video and

18   you're going to see Outlaws from all over the country

19   coming to meet with Mr. Ermin.

20                   Can we play this angle?

21                   (Video played.)

22                   Fast forward it just a little bit.

23                   You have now have Mr. Barnes in the front,

24   every other person pictured is an Outlaw at this point.

25   Another camera angle shows them all filing in, so one at
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 67 of 77
                                                                               66


 1                              USA V. J. ERMIN

 2   a time, in a position around the bar.              The area where

 3   the Kingsman is off screen, off the bottom of the

 4   screen, the direction where Mr. Barnes is, you see

 5   activity at the bottom.

 6                   Now they are going in the kitchen area to

 7   pull him out.

 8                   THE COURT:     How do you know that?

 9                   MR. TRIPI:     There are other angles that I

10   viewed that I'll show you.

11                   Can you pause it real quick?

12                   The guy with the goatee there, bald head,

13   his wife also works at Pharaoh's, his name is A/K/A

14   Spider, and he is -- he frequents Pharaoh's a lot, which

15   is the location where Mr. Ermin is the manager, Mr.

16   Gerace is the owner.         Where you have Mr. Raslawski is a

17   cook who deals drugs.         Where Matthew Joseph A/K/A Lucky,

18   so you have four Outlaws that are heavily invested in

19   that particular strip club owned by Mr. Gerace.

20                   Please continue, Ms. Champoux.

21                   So sitting down is -- if you stop it.              That

22   is the Kingsman who just sat down to the right.

23                   THE COURT:     The guy with his back to the

24   wall?

25                   MR. TRIPI:     Yes.    He was directed to sit
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 68 of 77
                                                                            67


 1                              USA V. J. ERMIN

 2   down by Mr. Mariachio, who is in court watching here

 3   today, who is either the Buffalo chapter president or he

 4   may be the new blue regional president, I'm not quite

 5   sure about that.       But that would be under Mr. Ermin.          He

 6   got promoted recently, too.

 7                   So you saw him direct the Kingsman where to

 8   sit.    You're going to see everyone circle around and

 9   Corey Benson holding a cane, although he walks just fine

10   without a cane, and he is the young one there in the

11   black with the hat, and they'll circle.               At some point,

12   you'll hear the Kingsman, and he asks if the guy is

13   about to beat him with the cane.            And we'll play the

14   tape from there.

15                   (Video played.)

16                   Stop it for a second.         Off camera at the

17   bottom there is a guy with a bald head and glasses on

18   top, and he is the owner of the bar and trying to figure

19   out what is going on.         Separately, the owner is

20   wondering why these guys are pulling out his cook to sit

21   him down like that.

22                   Go back a little bit, Ms. Champoux.

23                   Around the time where the Kingsman stands,

24   your Honor, is around the time he thinks he is going to

25   be beat with the cane.         He stands up and puts his back
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 69 of 77
                                                                             68


 1                              USA V. J. ERMIN

 2   against the wall.        It's around there and hard to hear.

 3                   Right now he is telling the owner, "He has

 4   got the message.       It had nothing to do with you or the

 5   bar."

 6                   Can you stop it there?         I'm going to go to

 7   another angle that shows them going into the kitchen and

 8   then the gentleman pulling the phone off the bar.

 9                   MR. MUSCATO:      Excuse me, your Honor.           My

10   client has some health issues that require --

11                   THE COURT:     Hold on a second.

12                   MR. MUSCATO:      That requires him to use the

13   restroom.     Could he please do that?

14                   THE COURT:     Yes, of course.        We're almost at

15   5:15 at this point.        I don't envision myself making a

16   decision on this today.          I envision us having to either

17   continue, because I don't know if we're even going to

18   get to the defense being able to respond, so we can

19   either --

20                   MR. TRIPI:     Could I propose, just for

21   efficiency sake, if we can finish this one and Barnes

22   the same day.      We could play these videos because they

23   apply to both Barnes is going to be --

24                   THE COURT:     So we adjourned Mr. Barnes to

25   next week on Wednesday at 11 o'clock.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 70 of 77
                                                                               69


 1                              USA V. J. ERMIN

 2                   MR. MUSCATO:      Okay.

 3                   THE COURT:     And I do, I mean, quite frankly,

 4   I'm not -- I don't want to say I'm concerned about it,

 5   but there is facts coming up in each of these proffers

 6   that kind of apply to the other one, and I think when it

 7   was originally heard in front of Judge Schroeder --

 8                   MR. TRIPI:     They were together.

 9                   THE COURT:     Well, they were at least --

10                   MR. TRIPI:     For the initial one.

11                   THE COURT:     Were they both in the courtroom

12   at the same time?        Was Mr. Ermin present for Mr. Barnes

13   and vice versa?

14                   MR. TRIPI:     No, what had happened, the

15   attorney for Mr. Barnes had watched everything, so he

16   had seen the fuller presentation, but Mr. Barnes had not

17   seen it, but there was a discussion on the record and

18   the attorney consented to everything that had been

19   seized for Ermin applying so we didn't have to repeat

20   the same information.

21                   THE COURT:     I get it you would like Judge

22   Schroeder's decision to stick and call it a day.                   That

23   may end up happening, but I'm not prepared to decide

24   that right now.       So we're going to have to continue

25   this.    I would propose that we continue it next
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 71 of 77
                                                                        70


 1                              USA V. J. ERMIN

 2   Wednesday at 11 a.m. and we're scheduled to continue

 3   with Mr. Barnes, but if you want it sooner than that,

 4   I'm willing to consider that and try to figure out a

 5   date.    So if you want to talk to your client, that's

 6   fine.

 7                   MR. TRIPI:     I'm sorry for going so long,

 8   there is a lot of information here.

 9                   THE COURT:     Well, I have a number of

10   questions for you, too.

11                   MR. MUSCATO:      Judge, next Wednesday is fine.

12   My client just really wants to use the restroom.

13                   THE COURT:     Let's have Mr. Ermin go to the

14   bathroom and then we'll come back out here.

15                   (Whereupon, there was a break in the

16   proceeding.)

17                   So just for future reference, Mr. Ermin, if

18   you need a break at any time, please just even shout at

19   me or something.       I don't want -- there is no reason you

20   have to be quiet about it.           Okay?

21                   MR. TRIPI:     If you're ready, you want me to

22   keep going with the videos?

23                   THE COURT:     No.    I guess my point is that I

24   think there is no way we're going to finish this today.

25                   MR. TRIPI:     No.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 72 of 77
                                                                          71


 1                              USA V. J. ERMIN

 2                   THE COURT:     We're going to have to pick an

 3   adjourn date.      We can finish up the videos, but your

 4   point is you're going to have to redo all of this with

 5   Mr. Barnes when we get back together.              My proposal, we

 6   adjourn this to Wednesday next week at 11 a.m., have

 7   both defendants here.         We'll go through the video

 8   evidence and then we'll continue with anything they want

 9   to present about Mr. Barnes and Mr. Ermin.

10                   MR. TRIPI:     Okay.

11                   THE COURT:     Fair enough.       So I don't know if

12   you heard what I was proposing?

13                   MR. MUSCATO:      And I apologize to the Court

14   because I did hear what you were proposing, I was also,

15   my client is scheduled for a prostate surgery on Friday

16   and it has significantly impacted his life.                I

17   understand he is in custody, I'm not trying to affect

18   that, but is there some way we could enter an order that

19   would allow him to get the surgery done on Friday,

20   remain in custody of the Marshals.

21                   THE COURT:     Well --

22                   DEPUTY MARSHAL:        If he is still in custody,

23   he has to go through our process, submit a prison

24   medical record.       A procedure like that is going to take

25   a while to get approved.          The only way is to furlough
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 73 of 77
                                                                         72


 1                              USA V. J. ERMIN

 2   him for the time of the surgery and whatever recovery

 3   and come back into custody.

 4                   MR. TRIPI:     The government has concerns

 5   about him being out, obviously, your Honor.

 6                   THE COURT:     How long -- tell me about the

 7   surgery.     I mean, is it an overnight or is it an

 8   ambulatory?

 9                   THE DEFENDANT:       They take me in overnight

10   and remove part of the prostate.            The next day I'm

11   released and three weeks bed rest because passing blood

12   for three weeks.

13                   THE COURT:     How long has the surgery been

14   scheduled for?

15                   THE DEFENDANT:       I think a couple weeks ago.

16                   MR. MUSCATO:      Judge, I have a paperwork.

17   His wife did give it to me.

18                   THE COURT:     At this point, is probation's

19   position any different than it was in the bail report?

20                   PROBATION:     No.     It's the same, your Honor.

21                   THE COURT:     Okay.     I mean, we could pick

22   this up again tomorrow, we could pick it up again

23   Thursday and I could try to reach a decision before

24   Friday.     I can't guarantee you what the decision is

25   going to be or I'm very reluctant, even if I could be
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 74 of 77
                                                                            73


 1                              USA V. J. ERMIN

 2   convinced while this is pending to release you just for

 3   purposes of the surgery.          I'm reluctant to do that where

 4   you're going to be on three weeks bed rest and

 5   potentially have to go back into custody.               That doesn't

 6   sound like a good viable option.

 7                   THE DEFENDANT:       May I?

 8                   THE COURT:     Well, check with your attorney

 9   before you speak.

10                   MR. MUSCATO:      Judge, he was indicating that

11   if the Court would allow home confinement without

12   association with anybody, that would be acceptable to

13   him.    And I just simply don't know what I did with --

14                   THE COURT:     But I guess the point is, I'm

15   not in a position right now to rule on that.                We're in

16   the middle of the government's proffer.               The government

17   is taking the position that you should be detained.                And

18   I don't know how I'm going to resolve this.                I need to

19   finish hearing the government's proffer and then I need

20   to hear from defense counsel.            And I have questions for

21   both of you about this.

22                   MR. MUSCATO:      Yes.    And I can't seem to put

23   my finger on the paperwork that I have.               But I found it.

24   It's from Western New York Urology Associates addressed

25   to John, and just basically says he is scheduled for
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 75 of 77
                                                                           74


 1                              USA V. J. ERMIN

 2   urologic surgery on 12/22/23.            Is that Saturday?

 3                   THE COURT:     12/22 is Friday.

 4                   MR. MUSCATO:      Judge, we'll postpone the

 5   surgery.     I think that is where we're at at this point.

 6                   THE COURT:     Okay.     All right.     So we're in

 7   agreement that we will continue this on Wednesday?

 8                   MR. TRIPI:     At 11.

 9                   THE COURT:     Wednesday, December 27th, at 11

10   a.m here in Rochester.

11                   MR. MUSCATO:      Yes, your Honor.

12                   MR. TRIPI:     Thank you, your Honor.

13                   MR. MUSCATO:      Your Honor, may I ask another

14   question, please?        I'm just wondering how much longer,

15   Mr. Tripi did say this to me, how much longer he thought

16   this presentation would be with respect to my client.

17                   MR. TRIPI:     Judge, I think playing the

18   videos, they are all between, and we're going to fast

19   forward them, all six to eight minutes, that is going to

20   take about maybe 40 minutes total between all of the

21   different angles.        And then you have questions for me.

22   I'll answer your questions and I don't know how many you

23   have or what, but --

24                   THE COURT:     I'll have more by next

25   Wednesday.
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 76 of 77
                                                                             75


 1                              USA V. J. ERMIN

 2                   MR. TRIPI:     I'm sure.      That's the risk of

 3   adjourning this as well, I suppose.             But I also, just,

 4   not to get lost in this, I wanted to show you some of

 5   the weapons in his house, so those are a bunch of

 6   photos, some that I added.

 7                   THE COURT:     It sounds like you have another

 8   hour and a half.

 9                   MR. TRIPI:     Hour, hour and a half, I guess.

10   Hopefully, irrespective of the videos and your

11   questions, about a half hour of stuff I want to present.

12                   THE COURT:     Okay.     Hold on one second.       So

13   what I am going to propose you all go to the courthouse.

14   I'll come to Buffalo next week, especially, we'll have

15   two defendants, two sides, same side, and the

16   prosecution side, but defense attorneys all coming.                 I

17   think it makes more sense to do it in Buffalo.                 So let's

18   plan on 11 a.m. Wednesday, December 27th, at the Jackson

19   courthouse in Buffalo for the continuation of both Mr.

20   Ermin's and Mr. Barnes' detention hearing.                And we will

21   communicate with Mr. Barnes' attorney so he is aware of

22   that as well.

23                   MR. TRIPI:     Will do.     Thank you, your Honor.

24                   MR. MUSCATO:      Thank you, your Honor.

25                   THE COURT:     All right.      Anything else from
Case 1:23-cr-00099-LJV-JJM Document 96-3 Filed 03/12/24 Page 77 of 77
                                                                         76


 1

 2   the defense?

 3                   MR. MUSCATO:      We're all set.       Thank you.

 4                   THE COURT:      Okay.    Anything else from the

 5   government?

 6                   MR. TRIPI:      No thank you, Judge.

 7                   THE COURT:      Probation?

 8                   PROBATION:      No thank you, your Honor.

 9                   THE COURT:      Thank you very much, everybody.

10                   MR. TRIPI:      Have a good night.

11                              *      *       *.

12                         CERTIFICATE OF REPORTER

13

14       I certify that the foregoing is a correct transcript

15   of the record of proceedings in the above-entitled

16   matter.

17

18   S/ Karen J. Clark,        RPR

19
     Official Court Reporter
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